                    Case 1-21-40794-nhl                       Doc 8      Filed 04/02/21              Entered 04/03/21 00:12:26


                                                               United States Bankruptcy Court
                                                                Eastern District of New York
In re:                                                                                                                 Case No. 21-40794-nhl
Juntima Netprachak                                                                                                     Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0207-1                                                  User: admin                                                                 Page 1 of 2
Date Rcvd: Mar 31, 2021                                               Form ID: 245                                                              Total Noticed: 25
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Apr 02, 2021:
Recip ID                   Recipient Name and Address
db                     +   Juntima Netprachak, 35-21 72nd street, 3A, Jackson Heights, NY 11372-4014
smg                    +   NYC Department of Finance, 345 Adams Street, Office of Legal Affairs, Brooklyn, NY 11201-3739
smg                    +   NYS Unemployment Insurance, Attn: Insolvency Unit, Bldg. #12, Room 256, Albany, NY 12240-0001
9952706                +   Adelaido Galeana, 332 E. 151st St., Bronx, NY 10451-5153
9952708                +   American Express, PO Box 981537, El Paso, TX 79998-1537
9952709                +   Aubrey Thrasher, P.C., On Deck Capital inc, 12 Powder Springs Street, Suite 240, Marietta, GA 30064-7205
9952710                +   Bank of America, N.A, 475 Cross Point Pkwy PO Box 9000, Getzville, NY 14068-9000
9952712                +   GOLDEN TOP GREEN FARM, 13-15 LUDLOW STREET, New York, NY 10002-6315
9952713                +   GT GREEN INC., 101 CANAL STREET, New York, NY 10002-6006
9952718                +   MIDLAND CREDIT, COMENITY BANK PIER ONE, 2355 Northside Dr Ste 300, San Diego, CA 92108-2708
9952717                +   Michael Antonio Faillace, Michael Faillace & Associates, P.C., 60 East 42nd Street Suite 4510, New York, NY 10165-0012
9952719                +   Milman Labuda Law Group PLLC, 3000 Marcus Ave, Suite 3W8, Lake Success, NY 11042-1009
9952720                +   Mullooly, Jeffrey, Roony & Flynn LLP, 6851 Jericho TPKE, Suite 220 PO BOX 9036, Syosset, NY 11791-4494
9952721                +   Natera, Inc., 201 Industrial Rd Ste 410, San Carlos, CA 94070-2396
9952722                +   Nicolas Galeana, 332 E. 151st St., Bronx, NY 10451-5153
9952724                +   TOP LINE MEAT MARKET INC, 81-37 BROADWAY, Jackson Heights, NY 11373-2429
9952725                +   William Kevin Oates , JR, Michael Faillace & Associates, P.C., 60 East 42nd Street Suite 4510, New York, NY 10165-0012

TOTAL: 17

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
smg                    + Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Mar 31 2021 18:17:00      NYS Department of Taxation & Finance,
                                                                                                                  Bankruptcy Unit, PO Box 5300, Albany, NY
                                                                                                                  12205-0300
smg                    + Email/Text: ustpregion02.br.ecf@usdoj.gov
                                                                                        Mar 31 2021 18:16:00      Office of the United States Trustee, Eastern
                                                                                                                  District of NY (Brooklyn Office), U.S. Federal
                                                                                                                  Office Building, 201 Varick Street, Suite 1006,
                                                                                                                  New York, NY 10014-4811
9952707                + Email/Text: bnc@alltran.com
                                                                                        Mar 31 2021 18:16:00      Alltran Financial, LP, JPMorgan Chase Bank, PO
                                                                                                                  Box 722929, Houston, TX 77272-2929
9952711                + Email/PDF: Citi.BNC.Correspondence@citi.com
                                                                                        Mar 31 2021 18:33:46      CITICARDS, PO Box 6217, Sioux Falls, SD
                                                                                                                  57117-6217
9952714                    Email/Text: sbse.cio.bnc.mail@irs.gov
                                                                                        Mar 31 2021 18:16:00      Internal Revenue Service, PO Box 7346,
                                                                                                                  Centralized Insolvency Agency, Philadelpia, PA
                                                                                                                  19101-7346
9952716                    Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Mar 31 2021 19:20:09      JPMCB Card Services, Chase Marriott, PO Box
                                                                                                                  15369, Wilmington, DE 19850
9952715                    Email/PDF: ais.chase.ebn@americaninfosource.com
                                                                                        Mar 31 2021 18:34:33      JPMCB Card Services, PO Box 15369,
                                                                                                                  Wilmington, DE 19850
9952723                    Email/Text: nys.dtf.bncnotice@tax.ny.gov
                                                                                        Mar 31 2021 18:17:00      NYS Dept of Tax And Finance, Bankruptcy
                                                                                                                  Section, PO Box 5300, Albany, NY 12205-0300

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                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
Recip ID         Bypass Reason Name and Address
9952705                        21-40794

TOTAL: 1 Undeliverable, 0 Duplicate, 0 Out of date forwarding address


                                                      NOTICE CERTIFICATION
I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Apr 02, 2021                                           Signature:          /s/Joseph Speetjens




                                      CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on March 31, 2021 at the address(es) listed
below:
Name                                  Email Address
Debra Kramer
                                      dkramer@kramerpllc.com;trustee@kramerpllc.com ny73@ecfcbis.com

Norma E Ortiz
                                      on behalf of Debtor Juntima Netprachak email@ortizandortiz.com
                                      ortiznoticeme@gmail.com;bkcourt@gmail.com;ortiznr70019@notify.bestcase.com

Office of the United States Trustee
                                      USTPRegion02.BR.ECF@usdoj.gov


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Information to identify the case:

Debtor 1:
                       Juntima Netprachak                                          Social Security number or ITIN:   xxx−xx−1994
                                                                                   EIN: _ _−_ _ _ _ _ _ _
                       First Name   Middle Name   Last Name

Debtor 2:                                                                          Social Security number or ITIN: _ _ _ _
                       First Name   Middle Name   Last Name
(Spouse, if filing)                                                                EIN: _ _−_ _ _ _ _ _ _
United States Bankruptcy Court:         Eastern District of New York               Date case filed for chapter:        7     3/29/21

Case number:            1−21−40794−nhl
                              NOTICE OF ELECTRONIC FILING PROCEDURE
                          INFORMATION REGARDING MEETING OF CREDITORS
The above case was filed electronically, and is accessible via the Court's Internet site at
http://www.nyeb.uscourts.gov. In compliance with E.D.N.Y. LBR 9011−1(b) and the court's General Order on
Electronic Filing Procedures ("General Order #559"), whenever any applicable statute, rule or order requires a
document to be signed and the document is electronically filed, the document shall contain an electronic signature or
a scanned copy of the original signature. An electronic signature shall consist of "s/" followed by the first and last
name of the person signing. Security of a password issued to an attorney is the attorney's responsibility. An original
signed copy of all filings shall be maintained in the attorney's file in accordance with General Order #559.

All parties with legal representation must file documents by one of the following methods:

1. INTERNET (Preferred Method): The requirements for filing, viewing and retrieving case documents over the
Internet are: A personal computer running Microsoft Windows; an Internet provider using dial−up or broadband;
Mozilla Firefox or Internet Explorer; Adobe Acrobat to convert word processor formatted documents to portable
document format (PDF); and a document scanner. The URL address is www.nyeb.uscourts.gov. A password is
needed to file documents into this system. Please contact the Court to obtain a password. In addition, a Pacer login is
needed to view or print documents from this system. A Pacer login can be obtained by calling the Pacer Service
Center at 1−800−676−6856 or by visiting their website at https://pacer.uscourts.gov.

2. DISKETTE or CD−ROM/DVD, PDF FORMAT: If you are not equipped or have not registered to file over the
Internet, you must submit your documents on a diskette or CD−ROM/DVD, in PDF format. Adobe Acrobat software
will provide you with the ability to create documents in PDF format; additionally, word processing programs such as
Microsoft Word include a built−in conversion utility. Use a separate flash drive or CD−ROM/DVD for each filing.
Submit the CD−ROM/DVD in an envelope with the case name, case number, type and title of the document, and the
file name on the flash drive or CD−ROM/DVD.

Important Note: If you are an ECF account holder, proofs of claim may be filed over the Internet. If you are
not a current ECF account holder, you may file a proof of claim by going to the Court's website at
http://www.nyeb.uscourts.gov/electronic−filing−proof−claim−epoc and select File a Claim (ePOC). This
application does not require a login and password. You can also file a proof of claim by CD−ROM/DVD or
flash drive.

Adversary Proceedings filed relative to cases assigned to the ECF system will also be assigned to the system.
Documents filed in such proceedings MUST comply with the foregoing electronic filing requirements.
In Chapter 7, 12 and 13 cases, the debtor is responsible for serving a copy of the petition on the trustee appointed in
the case. Refer to the Notice of Meeting of Creditors accompanying this notice for the name and mailing address of
the trustee.

In Chapter 11 cases, the debtor is responsible for serving a copy of the petition on the Internal Revenue Service and
the Securities and Exchange Commission. Refer to the second page of the Notice of Meeting of Creditors
accompanying this notice for their respective addresses.

Parties without legal representation may file documents in paper form, in accordance with procedures set forth in the
court's Local Rules.

Dated: March 31, 2021
                                                              For the Court, Robert A. Gavin, Jr., Clerk of Court
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                   NOTICE TO CHAPTER 7 DEBTORS AND DEBTORS' ATTORNEYS


What To Submit Prior To The Meeting Of Creditors
You must submit to the Chapter 7 Trustee assigned to your case the following:

1. A copy of the Chapter 7 petition (complete with all schedules and the statement of financial affairs) which bears a
copy of the Debtor's signature.

Note: The petition should not reflect the Debtor's signature as /s/.

2. Copies of all payment advices (i.e., pay stubs) or other evidence of payment received within 60 days before the
date of the filing of the petition by the Debtor from any employer of the Debtor. (See Bankruptcy Code §
521(a)(1)(iv))

Note: If such payment advices are not available or the Debtor does not have payment advices then the Debtor should
provide the Trustee and file with the Bankruptcy Court a notarized affidavit of the Debtor explaining the
circumstances.

3. A copy of the Federal income tax return (or a transcript of such return) for the most recent tax year ending
immediately before the commencement of the case and for which the Federal income tax return was filed.

Note: The tax return or transcript must be provided to the Chapter 7 Trustee no later than 7 days before the meeting
of creditors. (See Bankruptcy Code § 521(e)(2)(A)(i)) The tax return or transcript should NOT be filed with the
Bankruptcy Court.

The Chapter 7 Trustees request that this information be provided as soon as possible after the petition is filed. The
name and address of the assigned Chapter 7 Trustee appears on the meeting notice.
These requirements do not supersede or replace any of the requirements under the Bankruptcy Code, Bankruptcy
Rules and Local Bankruptcy Rules.



What to bring to the Meeting of Creditors
Each Chapter 7 Debtor should bring to the meeting of creditors: (a) original government issued photo identification
and (b) an original social security card or other original government issued document that reflects the debtor's social
security number.




BLnef.jsp [Notice of Electronic Filing rev. 02/01/17]
